                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:17cr55-RJC

UNITED STATES OF AMERICA                       )
                                               )
                                               )       ORDER OF FORFEITURE
          v.                                   )
                                               )
(3) BRYAN PERALTA                              )


          In the Superseding Bill of Indictment in this case, the United States sought forfeiture of

property of the Defendant as property that was used or intended to be used to facilitate the crimes

charged, which would be subject to forfeiture under 18 U.S.C. § 924 and 21 U.S.C. § 853. (Doc.

No. 31).

          Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Superseding Bill of Indictment; and was adjudged guilty of the offense charged in that count. (Doc.

No. 47: Plea Agreement; Doc. No. 50: Acceptance and Entry of Guilty Plea). In the plea

agreement, Defendant has agreed to forfeit specific property as described below.

          IT IS, THEREFORE, ORDERED:

          1.     Based upon Defendant’s plea of guilty and stipulated Factual Basis, the United

States is authorized to seize the following property belonging to Defendant, and it is hereby

forfeited to the United States for disposition according to law, provided, however, that such

forfeiture is subject to any and all third party claims and interests, pending final adjudication

herein:

          A forfeiture money judgment in the amount of $100,000, such amount constituting
          the proceeds of offenses set forth in the First Superseding Bill of Indictment; and

          Approximately $3,470 in United States currency seized during the investigation.




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        2.      Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct;

and notice that any person, other than the Defendant, having or claiming a legal interest in any of

the above-listed forfeited property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This notice shall state that

the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in

the property, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature

and extent of the petitioner’s right, title or interest in each of the forfeited properties and any

additional facts supporting the petitioner’s claim and the relief sought. The United States may also,

to the extent practicable, provide direct written notice to any person known to have alleged an

interest in property that is the subject of this Order of Forfeiture, as a substitute for published notice

as to those persons so notified.

        3.      Upon adjudication of third-party interests, if any, this Court will enter a final Order

of Forfeiture pursuant to 21 U.S.C.§ 853(n) and Fed. R. Crim. P. 32(c)(2).

        4.      If no third party files a timely claim, this Order of forfeiture shall become Final and

shall be made part of the sentence and included in the judgment, as provided by Fed. R. Crim. P.

32.2(b)(4) and 32.2(c)(2).


 Signed: November 9, 2017




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